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   8                        UNITED STATES DISTRICT COURT
   9                       CENTRAL DISTRICT OF CALIFORNIA
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  11    JOSEPH CARRINGTON,                        Case No. 2:19-cv-02771-FLA (KES)
  12                Petitioner,
  13          v.                                             JUDGMENT

  14    ROBERT NEUSCHMID,
  15                Respondent.
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  18         Pursuant to the Order Accepting Report and Recommendation of U.S.
  19   Magistrate Judge,
  20         IT IS ADJUDGED that Grounds One through Three of the First Amended
  21   Petition are dismissed without prejudice as unexhausted, and Ground Four is
  22   dismissed with prejudice on the merits.
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  24   DATED: October 1, 2021                ____________________________________
  25                                         FERNANDO L. AENLLE-ROCHA
                                             United States District Judge
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